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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
                Plaintiff,
                                                                 CASE NO: 4:14CR3141
       vs.

RICARDO AGUILAR CISNEROS,                                        DETENTION ORDER
               Defendant.


        The defendant is charged with a drug crime under the Controlled Substances Act (21
U.S.C. § 801 et seq.), for which the defendant could be required to serve ten or more years in
prison. On the government's motion, the court afforded the defendant an opportunity for a
detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(f). The court concludes the
defendant must be detained pending trial.

        There is a rebuttable presumption that no condition or combination of conditions of
release will reasonably assure the defendant’s appearance at court proceedings and the safety of
the community because there is probable cause to believe the defendant committed a drug crime
under the Controlled Substances Act (21 U.S.C. § 801 et seq.), for which the defendant could be
required to serve ten or more years in prison. The defendant has not rebutted this presumption.
        Based on the information of record, the court finds by a preponderance of the evidence
that the defendant's release would pose a risk of nonappearance at court proceedings, and by
clear and convincing evidence that the defendant's release would pose a risk of harm to the
public
        Specifically, the court finds that the defendant is not a United States citizen, is subject to
an ICE detainer, and faces deportation; has limited contacts with the community; has limited
employment contacts; waived the right to a detention hearing; and conditions which restrict
Defendant’s travel, personal contacts, and possession of drugs, alcohol, and/or firearms; require
reporting, education, employment, or treatment; or monitor Defendant’s movements or conduct;
or any combination of these conditions or others currently proposed or available (see 18 U.S.C. §
3142(c)), will not sufficiently ameliorate the risks posed if the defendant is released.
Dated December 11, 2014

                                                      BY THE COURT:
                                                      s/ Cheryl R. Zwart
                                                      United States Magistrate Judge
